                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

JAMES SPRINGER,

               Plaintiff,
v.
                                                    Civil Action No. 1:23-cv00499-MIS-JMR
SEVENTH JUDICIAL DISTRICT COURT,
MERCEDES MURPHY,
SHANNON MURDOCK-POFF, JASON JONES,
and SUSAN ROSSIGNOL,

                              Defendants.


      NOTICE OF COMPLETION OF BRIEFING, SERVICE AND ADDITIONAL
                           INFORMATION

       COMES NOW, Plaintiff, by and through undersigned counsel of record, and hereby

notifies the Court that briefing is complete on Plaintiff’s Motion for Temporary Restraining Order

and Preliminary Injunction, ECF Doc. No. 1.

       Plaintiff’s motion was filed June 9, 2023 and a process server delivered copies of the

Complaint with the included Motion for TRO and PI along with the summonses to the 7th Judicial

District Court Clerk Defendant Susan Rossignol on June 9, 2023. The following week a copy of

the Complaint and Summons were delivered as required by FRCP 4 to the New Mexico Attorney

General via USPS First Class Mail. This Court’s Order Requiring Briefing, ECF Doc. No. 2, was

transmitted to the Defendants first on June 21, 2023 via and again by process server on July 13,

2023. See ECF Doc. No. 12. Following the Magistrate Judge’s Order setting a status conference

in this matter, Plaintiff again mailed the Attorney General’s Office with copies of the documents

on July 29, 2023. See ECF Doc. No. 24. To date no response has been filed, nor acknowledgment

of the pleadings or the Court’s Order has been received from Defendants by Plaintiff’s counsel.

Upon information and belief, Defendant Murphy apprised the New Mexico Supreme Court the



                                                1
same day that she was served. It was her proposed text email and that of Defendant Murdock’s

that were served with a copy of the Court’s Order, ECF Doc. No. 2., Judge Murphy has

acknowledged receipt of the service on the record. See Exhibit 1 attached hereto.

       Additionally, Plaintiff supplies the Court with his Declaration, Exhibit 2, in support of the

Court’s grant of injunctive relief pursuant to request in the Motion, ECF Doc. No. 1. Plaintiff

respectfully pray that the Court issue the preliminary injunction, as the Defendants have willfully

failed to respond in the 14 days order by the Court that followed the first service of the Court’s

Order on June 21, 2023.


                                                     Respectfully submitted,

                                                     WESTERN AGRICULTURE, RESOURCE
                                                     AND BUSINESS ADVOCATES, LLP

                                                     /s/ A. Blair Dunn
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                                                2
                                 CERTIFICATE OF SERVICE

I hereby certify that on August 10, 2023, I filed the foregoing via the CM/ECF causing all parties
of record to be served electronically.

/s/ A. Blair Dunn
A. Blair Dunn, Esq.




                                                3
